                                       Case 8:20-cv-00043-JVS-ADS Document 118 Filed 07/13/20 Page 1 of 3 Page ID #:1365




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                                  7

                                  8
                                                            UNITED STATES DISTRICT COURT
                                  9

                                  10      CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION (SANTA ANA)

                                  11
                                         BUREAU OF CONSUMER            )           Case No. 8:20-cv-00043-JCS-ADS
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12     FINANCIAL PROTECTION,         )
                                                                       )           DEFENDANT JAWAD
                                  13
                                            Plaintiff,                 )           NESHEIWAT’S NOTICE OF
                                  14                                   )           MOTION AND MOTION TO
                                            v.                         )           DISMISS AND FOR JUDGMENT
                                  15
                                                                       )           ON THE PLEADINGS FOR WANT
                                  16     CHOU TEAM REALTY LLC, et al., )           OF JURISDICTION UNDER
                                                                       )           ARTICLE III
                                  17
                                            Defendants.                )
                                  18                                   )           [U.S. Const. Art. III; and F.R.Civ.P.
                                                                       )           Rule 12(b)(1) & (c); L.R. 7-3]
                                  19
                                                                       )
                                  20                                   )           * This motion is made following the
                                                                       )             conference of counsel pursuant to L.R.
                                  21
                                                                       )             7-3, which took place on 7/7/20.
                                  22                                   )
                                                                       )                  DATE: August 24, 2020
                                  23
                                                                       )                  TIME: 1:30 p.m.
                                  24                                   )            COURTROOM: 10-C
                                                                       )           JUDGE: HON. JAMES V. SELNA
                                  25
                                                                       )           TRIAL DATE: July 13, 2021, 8:30 a.m.
                                  26

                                  27
                                          DEFENDANT JAWAD NESHEIWAT’S NOTICE OF MOTION AND MOTION TO DISMISS AND FOR
                                  28          JUDGMENT ON THE PLEADINGS FOR WANT OF JURISDICTION UNDER ARTICLE III
                                                                               1
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                                  1
                                                            COMPLIANCE WITH LOCAL RULE 7-3

                                  2            On July 7, 2020, a conference of counsel was held pursuant Local Rule 7-3.
                                  3
                                         (Decl. of Lepiscopo ¶ 4.)
                                  4

                                  5
                                                   NOTICE OF MOTION AND MOTION TO DISMISS AND

                                  6                         FOR JUDGMENT ON THE PLEADINGS
                                  7
                                         TO THE HONORABLE JAMES V. SELNA, U.S. DISTRICT JUDGE, AND
                                  8      TO ALL PARTIES AND TO THEIR RESPECTIVE COUNSEL OF
                                  9
                                         RECORD:

                                  10           PLEASE TAKE NOTICE that on August 24, 2020, at 1:30 p.m., or as soon
                                  11
                                         thereafter as the matter may be heard in Courtroom 10-C of the above-entitled Court,
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12

                                  13     located at the Ronald Reagan Federal Building & United States Courthouse, 411

                                  14     West 4th Street, Santa Ana, California 92701, pursuant to the United States
                                  15
                                         Constitution, Article III (“Article III”) and Rule 12 (b) (1) & (c) of the Federal Rules
                                  16

                                  17     of Civil Procedure, defendant, Jawad Nesheiwat (“Nesheiwat”), shall and hereby
                                  18     does move the Court for an order dismissing this entire action or for judgment on
                                  19
                                         the pleadings for want of jurisdiction under Article III and pursuant to the United
                                  20

                                  21     States Supreme Court decision issued on June 29, 2020, in Seila Law LLC v.
                                  22     Consumer Financial Protection Bureau, 2020 U.S. LEXIS 3515; Slip Opinion, case
                                  23
                                         no. 19-7 p. 1; 591 U.S. ___ (June 29, 2020) (“Seila Law”). The LEXIS version of
                                  24

                                  25     the Seila Law opinion is attached to this motion as Exhibit 2. (Decl. of Lepiscopo ¶
                                  26
                                         3; Exhibit 2.)
                                  27
                                          DEFENDANT JAWAD NESHEIWAT’S NOTICE OF MOTION AND MOTION TO DISMISS AND FOR
                                  28          JUDGMENT ON THE PLEADINGS FOR WANT OF JURISDICTION UNDER ARTICLE III
                                                                                    2
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                                  1
                                                PLEASE TAKE FURTHER NOTICE that this motion is based upon this

                                  2      notice and motion, the Memorandum of Points and Authorities, the Request for
                                  3
                                         Judicial Notice, Exhibits 1 through 3, inclusive, and the Declaration of Peter D.
                                  4

                                  5
                                         Lepiscopo, Esq.

                                  6      Dated: July 13, 2020.                LEPISCOPO & ASSOCIATES LAW FIRM
                                  7

                                  8                                           By: /s/ Peter D. Lepiscopo_______
                                  9
                                                                                    PETER D. LEPISCOPO
                                                                                      Counsel of Record
                                  10                                                Attorneys for Defendant, JAWAD
                                  11                                                NESHEIWAT
LEPISCOPO & ASSOCIATES LAW FIRM




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                                          DEFENDANT JAWAD NESHEIWAT’S NOTICE OF MOTION AND MOTION TO DISMISS AND FOR
                                  28          JUDGMENT ON THE PLEADINGS FOR WANT OF JURISDICTION UNDER ARTICLE III
                                                                                3
